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                                                                7
                                                                    Attorneys for Plaintiff
                                                                8   MICHAEL TERPIN
                                                                9
                                                                                                  UNITED STATES DISTRICT COURT
                                                               10
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
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                                                               11
                                                                                                          WESTERN DIVISION
                                                               12
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                                                               13
                                                                    MICHAEL TERPIN,                               Case No. 2:18-cv-06975-ODW-KS
                                                               14
                                                                                            Plaintiff,            REPORT OF CONFERENCE OF
                                                               15                                                 THE PARTIES PURSUANT TO
                                                                    v.                                            FED. R. CIV. PROC. 26(f)
                                                               16
                                                                    AT&T MOBILITY, LLC; and DOES                  SCHEDULING CONFERENCE
                                                               17   1-25,
                                                                                                                  Date: January 11, 2021, 1:30 p.m.
                                                               18                           Defendants.           Place: 350 West 1st Street, 5th Floor,
                                                                                                                  Courtroom 5D, Los Angeles, California
                                                               19                                                 90012
                                                                                                                  Judge: Honorable Otis D. Wright II
                                                               20
                                                               21
                                                               22
                                                               23
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                                                                1            Pursuant to Fed. R. Civ. Proc. 26(f), Local Civil Rule 26-1, the Court’s
                                                                2   Scheduling Meeting of Counsel Order, and the Court’s Scheduling and Case
                                                                3   Management Order for Jury Trials, Plaintiff Michael Terpin (“Plaintiff” or “Mr.
                                                                4   Terpin”) and Defendant AT&T Mobility, LLC (“Defendant” or “AT&T”) submit the
                                                                5   following report of the conference that they conducted on October 19, 2020.
                                                                6
                                                                    I. Matters Discussed Under Rule 26(f)
                                                                7
                                                                             A. Rule 26(a) Disclosures.
                                                                8
                                                                9            By agreement, the parties already exchanged their respective Rule 26(a)
                                                               10   disclosures on November 2, 2020, subject to the production of materials marked
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                                                               11   confidential which will be made upon entry by the Court of a stipulated protective
                                                               12   order.
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                                                               13
                                                                             B. Subjects of Discovery.
                                                               14
                                                                             The parties will conduct discovery on Plaintiff’s claims in its Second Amended
                                                               15
                                                                    Complaint for (1) Declaratory Relief; (2) Unauthorized Disclosure of Customer
                                                               16
                                                                    Confidential Proprietary Information and Proprietary Network Information, Federal
                                                               17
                                                                    Communications Act, 47 U.S.C. §§ 206, 222; (3) Negligence; (4) Negligent
                                                               18
                                                                    Supervision and Training; (5) Negligent Hiring; and (6) Breach of Contract—AT&T
                                                               19
                                                                    Privacy Policy and in regard to Defendant’s Affirmative Defenses as set forth in its
                                                               20
                                                                    Answer to the Second Amended Complaint.
                                                               21
                                                                             The proposed discovery cut off, which complies with the Court’s Scheduling
                                                               22
                                                                    and Case Management Order for Jury Trials (“Scheduling and Case Management
                                                               23
                                                                    Order”), is set forth below in Section IV. The parties do not propose that the
                                                               24
                                                                    discovery be conducted in phases or limited or focused to particular issues.
                                                               25
                                                               26
                                                               27
                                                               28
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                                                                1            C. Changes to Limitations on Discovery.
                                                                2
                                                                             Subject to each party’s right to apply to the Court to grant further discovery in
                                                                3
                                                                    the event that the parties do not stipulate, the parties propose the following changes
                                                                4
                                                                    to the limitations on discovery under the Federal Rules of Civil Procedure and the
                                                                5
                                                                    Local Rules of this Court:
                                                                6
                                                                             1.       Each party is entitled to pose no more than 35 interrogatories to the other
                                                                7
                                                                    party.
                                                                8
                                                                             Plaintiff contends that each party should be permitted to take 15 depositions.
                                                                9
                                                                    Defendant contends that the ordinary limit of 10 depositions is sufficient. The parties
                                                               10
                                                                    agree to further confer on the necessity of expanding the deposition limit as the case
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                                                               11
                                                                    proceeds.
                                                               12
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                                                               13            D.       Issues Regarding Disclosure, Discovery, or Preservation of

                                                               14   Electronically Stored Information, Including the Form or Forms in which It Should

                                                               15   Be Produced.

                                                               16            The parties do not currently anticipate any issues regarding disclosure,

                                                               17   discovery, or preservation of electronically stored information.

                                                               18            E.       Additional Orders.

                                                               19            The parties will prepare and submit for the Court’s approval a protective order

                                                               20   governing the production of confidential information. AT&T prepared and circulated

                                                               21   a draft of that protective order on November 20, 2020. The parties’ proposals

                                                               22   regarding the Court’s Scheduling Order for this matter, including the date of the

                                                               23   pretrial conference, are set forth below in Section IV.

                                                               24   II. Matters Discussed Under Local Rule 26-1
                                                               25
                                                                             A. Complex Case
                                                               26
                                                                             The parties do not believe that the Manual for Complex Litigation (current
                                                               27
                                                                    edition) should be utilized or that the procedures of the Manual shall be modified.
                                                               28
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                                                                1            B. Motion Schedule
                                                                2            See Section III(B), infra.
                                                                3            C. ADR
                                                                4            The parties have agreed on ADR Procedure No. 3 (private dispute resolution
                                                                5   proceeding).
                                                                6            D. Trial Estimate
                                                                7            12 Court days.
                                                                8            E. Additional Parties
                                                                9            At the current time, neither party contemplates adding other parties, but
                                                               10   reserves the right to do so under applicable substantive and procedural law.
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                                                               11            F. Expert Witnesses
                                                               12            As set forth in Section IV, infra, and based on the proposed trial date, the
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                                                               13   parties propose an expert discovery cut-off date of March 7, 2022 as per this Court’s
                                                               14   template for scheduling pretrial and trial dates. Pursuant to the Court’s Scheduling
                                                               15   and Case Management Order, affirmative experts shall be designated eight weeks
                                                               16   prior to that date (i.e., January 10, 2022) and rebuttal experts five weeks prior to that
                                                               17   date (i.e., January 31, 2022).
                                                               18   III. Additional Matters Discussed Pursuant to the Court’s Order Regarding
                                                               19   Scheduling Meeting of Counsel and Scheduling Conference.
                                                               20            A. Proposed Written Discovery
                                                               21            See Items I(B) and I(C), supra. Based on the proposed trial date, the parties

                                                               22   propose a percipient/fact discovery cutoff of February 21, 2022. See Section IV,

                                                               23   infra.

                                                               24            B. Proposed Law and Motion Matters.

                                                               25            Each party contemplates bringing a motion for summary judgment. Based on

                                                               26   the proposed trial date (and taking into account the Court’s requirement that thirty-

                                                               27   five days’ notice be provided for motions for summary judgment) motions for

                                                               28   summary judgment will be filed no later than March 14, 2022 (35 days before the

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                                                                1   April 18, 2022 cutoff for hearing motions) and all other motions will be filed no later
                                                                2   than March 21, 2022 (28 days before the April 18, 2022 cutoff for hearing motions),
                                                                3   subject to the requirements of the Federal Rules of Civil Procedure and the Court’s
                                                                4   Local Rules.
                                                                5            C. Settlement
                                                                6            The parties engaged in settlement discussions prior to the filing of this lawsuit.
                                                                7   As earlier noted, the parties have agreed on ADR Procedure No. 3 (private dispute
                                                                8   resolution proceeding). The parties believe further discussions would be appropriate
                                                                9   after more discovery takes place.
                                                               10            D. Trial Length
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                                                               11            The parties estimate that the trial will take 12 court days, not including jury
                                                               12   selection.
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                                                               13            E. Other Parties
                                                               14            The parties do not anticipate at this time that other parties will be added but
                                                               15   reserve their right to bring a motion to add parties under applicable substantive and
                                                               16   procedural law.
                                                               17            F. Trial Type
                                                               18            The trial will be a trial by jury.
                                                               19            G. Other Issues Affecting Status or Management of the Case
                                                               20            None.
                                                               21            H. Proposals regarding Severance, Bifurcations or Other Ordering of Proof.
                                                               22            None.
                                                               23            I. Short Synopsis of Principal Issues of the Case.
                                                               24            Plaintiff alleges that he was damaged by Defendant’s conduct which led to a
                                                               25   SIM swap of his phone and the loss of almost $24 million in cryptocurrency. Plaintiff
                                                               26   alleges that Defendant breached its obligations to maintain the privacy of his personal
                                                               27   information under the Federal Communications Act and in violation of Defendant’s
                                                               28   promises in its privacy policy. Plaintiff further alleges that Defendant was negligent
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                                                                1   in not maintaining adequate security and in hiring personnel who either cooperated
                                                                2   with the perpetrators of the SIM swap or were allowed by AT&T to bypass the
                                                                3   security that AT&T had allegedly placed on its systems to protect its customers.
                                                                4            Defendant disputes Plaintiff’s allegations and denies any liability to Plaintiff.
                                                                5   Defendant argues that the criminal hackers who allegedly swapped Mr. Terpin’s SIM
                                                                6   card into a phone controlled by the hackers, and then used his SIM card to steal
                                                                7   cryptocurrency, needed for multiple steps to be taken by various parties, including
                                                                8   Plaintiff, to allegedly allow the SIM swap and resulting theft. Defendant argues that
                                                                9   it does not control the acts of criminal hackers and that it at all times maintained
                                                               10   reasonable security measures and disclosed to customers the limits of those security
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                                                               11   measures. Accordingly, Defendant argues that any alleged loss is due to factors other
                                                               12   than Defendant and outside of Defendant’s control, including the negligence or
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                                                               13   intentional misconduct of other actors or Plaintiff’s own negligence.
                                                               14            J. Amendment of Pleadings
                                                               15            Defendant has brought three motions to dismiss in this matter. At issue in this
                                                               16   matter are the six remaining claims of Plaintiff’s Second Amended Complaint. See
                                                               17   Section I(B), supra. The parties reserve their right to further amend the pleadings
                                                               18   (and challenge any request to amend) under applicable substantive and procedural
                                                               19   law consistent with the Court’s rulings.
                                                               20            K. Resolution of Matters by Motion
                                                               21            The parties anticipate that they may each bring a motion for summary
                                                               22   judgment on all or a portion of the claims of Plaintiff’s Second Amended Complaint.
                                                               23   Because discovery has not been conducted in this matter, the parties are unable to
                                                               24   provide further specificity regarding the potential motions at this time.
                                                               25
                                                               26
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                                                                1   IV. Parties’ Recommendations and Orders for Final Scheduling Orders
                                                                2
                                                                             The parties respectfully submit the following recommendations regarding the
                                                                3
                                                                    final scheduling order to be entered by the Court based on the Court’s template for
                                                                4
                                                                    Scheduling of Trial and Pre-Trial Dates.
                                                                5
                                                                     Event                                               Date
                                                                6
                                                                7    Jury Trial                                          June 7, 2022, 9:00 a.m.
                                                                8
                                                                     Estimated length 12 court days
                                                                9
                                                               10    Last Date to File Final Trial Exhibit Stipulation June 2, 2022
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                                                               11    Hearings on Motions in Limine                       May 31, 2022, 1:30 p.m.
                                                               12
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                                                                     Pretrial Conference; Deadline to File Motions       May 16, 2022
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                                                               13
                                                                     in Limine
                                                               14
                                                               15    Deadline to File:                                   May 9, 2022

                                                               16         • Proposed Pretrial Conference Order;
                                                               17         • Memoranda and Contentions of Fact and
                                                               18             Law;
                                                               19         • Joint Witness List;
                                                               20         • Join Exhibit List and Exhibit Stipulation;
                                                               21         • Proposed Jury Instructions/Disputed Jury
                                                               22             Instructions
                                                               23         • Proposed Voir Dire Questions;
                                                               24         • Joint Statement of the Case;
                                                               25         • Joint Report re Settlement
                                                               26
                                                                     Last Date for Hearing Motions                       April 18, 2022
                                                               27
                                                               28
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                                                                1
                                                                     Event                                              Date
                                                                2
                                                                3    Last Date to Conduct Settlement Conference         April 11, 2022

                                                                4    Expert Discovery Cutoff                            March 7, 2022
                                                                5
                                                                     Percipient/Fact Discovery Cutoff                   February 21, 2022
                                                                6
                                                                7    Last Date to Hear Motions to Amend Pleadings April 5, 2021
                                                                8    or Add Parties
                                                                9            The dates proposed herein were determined and calculated based on the
                                                               10   proposed trial date using the Court’s template. In the event that the Court selects a
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                                                               11   different date, the parties would propose that all the dates be adjusted according to
                                                               12
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                                                                    the Court’s template.
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                                                               13
                                                                    DATED: December 28, 2020               GREENBERG GLUSKER FIELDS
                                                               14                                          CLAMAN & MACHTINGER LLP

                                                               15
                                                               16                                          By: /s/ Timothy J. Toohey
                                                                                                              TIMOTHY J. TOOHEY (SBN 140117)
                                                               17                                             Attorneys for Plaintiff MICHAEL
                                                                                                              TERPIN
                                                               18
                                                               19
                                                                    DATED: December 28, 2020               GIBSON DUNN & CRUTCHER
                                                               20
                                                               21
                                                               22                                          By: /s/ Marcellus McRae
                                                                                                              MARCELLUS MCRAE (SBN 140308)
                                                               23                                             Attorneys for Defendant AT&T
                                                                                                              Mobility, LLC
                                                               24
                                                               25
                                                               26
                                                               27
                                                               28
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